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Attorneys for the United States

UNITED STATES DISTRICT COURT
DISTRICT ()F NEVADA

UNITED sTATEs oF AMERICA,
Plaintiff, 2;16_¢1~-00046_GMN-PAL
V‘ PLEA AGREEMENT
MICAH MCGUIRE,
Defendant.

 

 

The United States, by and through the undersigned, and the defendant,
l\/[ICAH MCGUIRE and his attorney, Randall Roske, respectfully submit this Plea
Agreernent under Fed. R. Crirn. P. 11(0)(1)(A) and (B).

I. SC()PE ()F AGREEMENT

The parties to this Plea Agreement are the United States of America and the
defendant, MICAH MCGUIRE. ’l`his Plea Agreement binds the defendant and the
United States Attorney’s Office for the District of Nevada. lt does not bind any other

prosecuting, administrative or regulatory authority, the United States Probation

 

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Office, or the Court.

The Plea Agreernent sets forth the parties’ agreement regarding criminal
charges referenced in the Plea Agreement and applicable sentences, fines,
restitution and forfeiture lt does not control or prohibit the United States or any
agency or third party from seeking any other civil or administrative remedies
directly or indirectly against the defendant

II. DISPOSITION OF CHARGES AND WAIVER ()F TRIAL RIGHTS

A. Guilty Plea. The defendant knowingly and voluntarily agrees to plead
guilty to Count Two of the Superseding lndictment filed on l\/[arch 2, 2016, charging
Conspiracy to lmpede or lnjure a Federal Officer, in violation of Title 18, United
States Code, Sections 372.

B. Waiver of Trial Rights. The defendant acknowledges that he has been
advised and understands that by entering a plea of guilty he is waiving -- that is,
giving up -- certain rights guaranteed to all defendants by the laws and the
Constitution of the United States. Specifically, the defendant is giving up:

1. The right to proceed to trial by jury on all charges, or to a trial
by a judge if the defendant and the United States both agree;

2. The right to confront the witnesses against the defendant at such
a trial, and to cross-examine them;

3. The right to remain silent at such a trial, with assurance that his
silence could not be used against him in any way;

4. The right to testify in his own defense at such a trial if he so

chooses;

 

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5. The right to compel witnesses to appear at such a trial and testify
in the defendant's behalf; and

6. The right to have the assistance of an attorney at all stages of
such proceedings

C. Withdrawal of Guiltv Plea. The defendant will not seek to withdraw
his guilty plea after he has entered it in court.

D. Dismissal of Charges. After the Court has adjudged a sentence in this
case, the government will move to dismiss all remaining charges and forfeiture
allegations in the Superseding lndictment.

E. Additional Charges. The United States agrees not to bring any
additional charges against the defendant arising out of the investigation in the
District of Nevada Which culminated in this Plea Agreement or for conduct known
to the United States at the time of this Agreement.

III. ELEMENTS ()F THE OFFENSE

The elements of Conspiracy to lmpede or lnjure a Federal Officer in violation
of Title 18, United States Code, Section 372 are as follows:

1. From on or about March 28, 2014, to on or about March 2, 2016, there was

an agreement between two or more persons to:

a. prevent, by force, intimidation, or threats, federal law enforcement
officers from discharging the duties of their office under the United
States, or

b. induce, by force, intimidation, or threats, any federal law

enforcement officer of the United States to leave the place where

 

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their duties were required to be performed; and

2. That the defendant became a member of the conspiracy knowing of at least

one ofits objects and intending to help accomplish it.

IV. FACTS SUPP()RTING GUILTY PLEA

A. The defendant will plead guilty because he is, in fact and under the law,
guilty of the crime charged.

B. The defendant acknowledges that if he elected to go to trial instead of
pleading guilty, the United States could prove his guilt beyond a reasonable doubt.
The defendant further acknowledges that his admissions and declarations of fact set
forth below satisfy every element of the charged offense

C. The defendant waives any potential future claim that the facts he
admitted in this Plea Agreement were insufficient to satisfy the elements of the

charged offense.

D. The defendant admits and declares under penalty of perjury that the

facts set forth below are true and correct:

1. Beginning on or around March 28, 2014, federal law enforcement officers from
the United States Department of lnterior, Bureau of Land l\/lanagement and
National Park Service were engaged in the official duties of executing federal
court orders to remove and impound cattle trespassing upon federal public
lands in and around Bunkerville, Nevada, the cattle belonging to Cliven
Bundy, a local rancher.

2. Defendant McGuire knew that Cliven Bundy and his sons, Ammon, Dave, Mel,
and Ryan, (collectively, “the Bundys”), Ryan Payne, and others associated with

them, planned to thwart, impede and interfere with the impoundment
operations

3. Defendant McGuire knowingly entered into a conspiracy with the Bundys,
Payne, and others associated with them, to impede federal law enforcement

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officers through a show of force and intimidation in order to prevent the officers
from performing their duties in relation to the impoundment and to induce
them to leave the area.

4. Defendant l\/chuire furthered the conspiracy by, among other things: serving
on a personal security detail for Cliven Bundy; and entering a closed area, the

Toquop wash, where law enforcement officers were conducting their duties,
with a firearm on April 12, 2014.

5. All of the above took place Within the State and Federal District of Nevada.

V. COLLATERAL USE ()F FACTUAL ADMISSIONS

The facts set forth in Section lV of this Plea Agreement shall be admissible
against the defendant under Fed. R. Evid. 801(d)(2)(A) at sentencing for any purpose
lf the defendant does not plead guilty or withdraws his guilty pleas, the facts set
forth in Section lV of this Plea Agreement shall be admissible at any proceeding,
including a trial, for impeaching or rebutting any evidence, argument or
representation offered by or on the defendant's behalf. The defendant expressly
waives all rights under Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 regarding the
use of the facts set forth in Section lV of this Plea Agreement.

VI. APPLICATION OF SENTENCING GUIDELINES PROVISIONS

A. Discretionarv Nature of Sentencing Guidelines. The defendant
acknowledges that the Court must consider the United States Sentencing Guidelines
(“USSG, “Sentencing Guidelines,” or “Guidelines”) in determining the defendant’s
sentence, but that the Sentencing Guidelines are advisory, not mandatory, and the
Court has discretion to impose any reasonable sentence up to the maximum term of
imprisonment permitted by statute

B. Offense Level Calculations. The parties stipulate to the following

 

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calculation of the defendant’s offense level under the Sentencing Guidelines,
acknowledge that these stipulations do not bind the Court, and agree that they will

not seek to apply any other specific offense characteristics, enhancements or
reductions under the Sentencing Guidelines:

Base offense level (USSG §§ 2X1.1, 2A2.4(a)) 10

Special Offense Characteristics

Official victim (USSG § 3A1.2(b)) +6

Offense was calculated to influence or affect +5

the conduct of the government by intimidation
or coercion (USSG § 3A1.4, comment n. 4))

Adjusted Offense Level 21
Acceptance (USSG §§ 3E1.1(a) and (b)) (2)
Total Adjusted Offense Level 19

The defendant acknowledges that the statutory maximum sentence and any
statutory minimum sentence limit the Court’s discretion in determining the
defendant’s sentence notwithstanding any applicable Sentencing Guidelines
provisions

C. Reduction of Offense Level for Acceptance of Responsibilitv. Under
USSG § 3E1.1(a), the United States will recommend that the defendant receive a
two-level downward adjustment for acceptance of responsibility unless he (a) fails to
truthfully admit facts establishing a factual basis for the guilty plea when he enters
the plea; (b) fails to truthfully admit facts establishing the amount of restitution
owed when he enters his guilty plea; (c) fails to truthfully admit facts establishing
the forfeiture allegations when he enters his guilty plea; (d) provides false or

misleading information to the United States, the Court, Pretrial Services, or the

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Probation Office; (e) denies involvement in the offense or provides conflicting
statements regarding his involvement or falsely denies or frivolously contests
conduct relevant to the offense; (f) attempts to withdraw his guilty plea; (g) commits
or attempts to commit any crime; (h) fails to appear in court; or (i) violates the
conditions of pretrial release These Sentencing Guidelines provisions, if applied,
will result in a total adjusted offense level of 19, as stated above.

D. Criminal Historv Categorv. The defendant acknowledges that the
Court may base its sentence in part on his criminal record or criminal history and
that the Court will determine the defendant’s Criminal History Category under the
Sentencing Guidelines.

E. Relevant Conduct. The Court may consider all relevant conduct,
whether charged or uncharged, in determining the applicable Sentencing Guidelines
range and whether to depart from that range

F. Additional Sentencing lnformation. The stipulated Sentencing
Guidelines calculations are based on information now known to the parties The
parties may provide additional information to the United States Probation Office
and the Court regarding the nature, scope, and extent of the defendant’s criminal
conduct and any aggravating or mitigating facts or circumstances Good faith efforts
to provide truthful information or to correct factual misstatements shall not be
grounds for the defendant to withdraw his guilty plea.

The parties further agree that other than the stipulated guidelines
calculations, neither party will argue for additional adjustments, enhancements, or

departures under the Sentencing Guidelines. The defendant, however, is free to

 

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argue for further variances from the Guideline calculations under Title 18, United

States Code, Section 3553.

The defendant acknowledges that the United States Probation Office may
calculate the Sentencing Guidelines differently and may rely on additional
information it obtains through its investigation The defendant also acknowledges
that the Court may rely on this and other additional information as it calculates the
Sentencing Guidelines range and makes other sentencing determinations as
appropriate and that the Court’s reliance on such information shall not be grounds
for the defendant to withdraw his guilty plea.

VII. APPLICATION OF SENTENCING STATUTES

A. l\/laximum Penalty. Count 2: The maximum penalty for Conspiracy to
lmpede or lnjure a Federal Officer under 18 U.S.C. § 372 is six (6) years
imprisonment, a fine of $250,000, or both.

B. Factors Under 18 U.S.C. § 3553. The Court must consider the factors
set forth in 18 U.S.C. § 3553(a) in determining the defendant’s sentence However,
the statutory maximum sentence and any statutory minimum sentence limit the
Court’s discretion in determining the defendant’s sentence

C. Parole Abolished. The defendant acknowledges that his prison
sentence cannot be shortened by early release on parole because parole has been
abolished

D. Supervised Release. ln addition to imprisonment and a fine, the
defendant Will be subject to a term of supervised release not greater than three (3)

years. 18 U.S.C. § 3583(b)(1). Supervised release is a period of time after release

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from prison during which the defendant Will be subject to various restrictions and
requirements lf the defendant violates any condition of supervised release the
Court may order the defendant’s return to prison for all or part of the term of
supervised release which could result in the defendant serving a total term of
imprisonment greater than the statutory maximum prison sentence

E. Special Assessment. The defendant will pay a $100 special assessment
per count at the time of sentencing

VIII. POSITIONS REGARDING SENTENCE

The government is free to argue for any period of imprisonment within the
guideline range as determined by the Court. The defendant may argue that the
Section 3553(a) factors call for a period ofimprisonment equal to the amount of time
served regardless of the final guideline calculation by the Court. The government
may oppose any such argument

The defendant acknowledges that the Court does not have to follow the
recommendation if either party.

lX. RESTITUTI()N

The parties agree that restitution is not mandatory based on the crimes to
which he has pleaded guilty, As a further part of this plea agreement, the
government does not intend to seek non-mandatory restitution in connection with

the events giving rise to the Superseding Indictment.

 

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X. FORFEITURE

The government agrees to dismiss any forfeiture counts following imposition
of sentence in this case and will not pursue any forfeiture in connection with the
events giving rise to the Superseding lndictment.

XI. FINANCIAL INFORMATION AND DISPOSITION OF ASSETS

Before or after sentencing, or upon request by the Court, the United States,
or the Probation Office, the defendant will provide accurate and complete financial
information, submit sworn statements, and/or give depositions under oath
concerning his assets. The defendant will release such funds and property under his
control in order to pay any assessment and/or fine imposed by the Court.

XII. RELEASE PENDING IMPOSITION OF SENTENCE

As of the date of this Agreement, the defendant remains subject to an Order
of pretrial detention. Following the entry of defendant’s pleas of guilty pursuant to
the terms of this agreement, the government will recommend to the Court that the
defendant be released from pretrial detention on his own recognizance pending the
imposition of sentence and subject to an Order of Release that includes, but is not
limited to, the following agreed upon terms and conditions:

1. The defendant will not violate any federal, state or local law.

2. The defendant must immediately advise the court, defense
counsel, and the U.S. Attorney in writing before changing
address or telephone number.

3. The defendant must appear in court as required.

4. The defendant must report to the United States Pretrial
Services Office for the District of Nevada as directed.

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The defendant must actively seek and/or maintain employment
and notify U.S. Pretrial Services before making any change in
employment

The defendant will not use or possess any illegal or controlled
substances and Will not knowingly associate or reside with
anyone who does

The defendant will refrain from the use of alcohol.

The defendant will participate in a program of inpatient or
outpatient substance abuse therapy and counseling as deemed
appropriate by U.S. Pretrial Services.

The defendant will submit to drug/alcohol testing as directed by
U.S. Pretrial Services.

The defendant will not possess a firearm, destructive device or
other dangerous weapon.

The defendant will surrender any passport to U.S. Pretrial
Services and will not obtain any passport or other travel
documents

The defendant will have no contact with any co-defendants
named in the Superseding Indictment except in the presence of
his attorney and for the purposes of preparing for future
proceedings involving this case

The defendant will have no contact with a person listed as a
Witness on the Government’s Witness List filed in this case

The government is free to argue for such additional terms and conditions as

it deems appropriate to insure the safety of the community and that the defendant

is present for all future proceedings The defendant understands that the Court is

not bound by the recommendation of the government regarding pretrial release and

is free either to continue detention or impose such other terms and conditions of

release as it deems appropriate under the circumstances The government will

stipulate that pretrial detention is no longer necessary because the government

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believes, under the circumstances acceptance of responsibility demonstrates that
McGuire will not reoffend and therefore is not a danger to the community or a risk
of flight.

XIII. THE DEFENDANT’S ACKNOWLEDGMENTS AND WAIVERS

A. Plea Agreement and Decision to Plead Guiltv. The defendant
acknowledges that:

1. He has read this Plea Agreement and understands its terms and
conditions;

2. He has had adequate time to discuss this case, the evidence and
this Plea Agreement with his attorney;

3. He has discussed the terms of this Plea Agreement with his
attorney;

4. The representations contained in this Plea Agreement are true
and correct, including the facts set forth in Section IV; and

5. He was not under the influence of any alcohol, drug, or medicine
that would impair his ability to understand the Agreement when he considered
signing this Plea Agreement and when he signed it.

The defendant understands that he alone decides whether to plead guilty or
go to trial, and acknowledges that he has decided to enter his guilty plea knowing of
the charges brought against him, his possible defenses and the benefits and possible
detriments of proceeding to trial. The defendant also acknowledges that he decided

to plead guilty Voluntarily and that no one coerced or threatened him to enter into

this Plea Agreement,

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B. Waiver of Appeal and Post-Conviction Proceedings. The defendant
knowingly and expressly waives: (a) the right to appeal any sentence imposed within
or below the applicable Sentencing Guideline range as determined by the Court; (b)
the right to appeal the manner in which the Court determined that sentence on the
grounds set forth in 18 U.S.C. § 3742; and (c) the right to appeal any other aspect of
the conviction or sentence and any order of restitution or forfeiture

The defendant also knowingly and expressly waives all collateral challenges
including any claims under 28 U.S.C. § 2255, to his conviction, sentence and the
procedure by which the Court adjudicated guilt and imposed sentence except non-
waivable claims of ineffective assistance of counsel.

The defendant reserves only the right to appeal any portion of the sentence
that is an upward departure from the Sentencing Guidelines range determined by
the Court.

The defendant acknowledges that the United States is not obligated or
required to preserve any evidence obtained in the investigation of this case

C. Removal/Deportation Consequences. The defendant understands and
acknowledges that if he is not a United States citizen, then it is highly probable that
he will be permanently removed (deported) from the United States as a consequence
of pleading guilty under the terms of this Plea Agreement, The defendant has also
been advised if his conviction is for an offense described in 8 U.S.C. § 1101(a)(43), he
will be deported and removed from the United States and will not be allowed to
return to the United States at any time in the future The defendant desires to plead

guilty regardless of any immigration consequences that may result from his guilty

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plea, even if the consequence is automatic removal from the United States with no
possibility of returning 'l`he defendant acknowledges that he has specifically
discussed these removal/deportation consequences with his attorney.

XIV. ADDITIONAL ACKNOWLEDGMENTS

This Plea Agreement resulted from an arms-length negotiation in which both
parties bargained for and received valuable benefits in exchange for valuable
concessions lt constitutes the entire agreement negotiated and agreed to by the
parties No promises agreements or conditions other than those set forth in this
agreement have been made or implied by the defendant, the defendant’s attorney, or
the United States, and no additional promises agreements or conditions shall have
any force or effect unless set forth in writing and signed by all parties or confirmed
on the record before the Court.

STEVEN W. MYHRE

Actingid States Attorney
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DATE N DMHMED
DANIEL SCHIESS
Assistant United States Attorneys
ERIN CREEGAN
Special Assistant United States Attorney

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DAT RANDALL ROS

Counsel for De endant

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DATE M AH MCGUTRE
Defendant

 

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